              Case 1:20-cr-01532-MV Document 6 Filed 08/05/20 Page 1 of 2




                               IN THE I.INITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                            )
                                                     )
                  Plaintiff,                         )          CRTMINAL NO. 20-CR-1s32 MV

        vs.

PHILLP CHACON )

                  Defendant.


                WzuT OF HABEAS CORPUS AD PROSEQUENDUM
       FOR CUSTODY OF DEFENDANT UNTIL COMPLETION OF FEDERAL CASE


TO:     Sheriff or Warden of Rio Arriba County Detention Center, Tierra Amarilla, New Mexico,
        and to the United States Marshal or her authorized representative

                                            GREETINGS:




        You are hereby commanded to deliver PHILLP CHACON, date of birth 1012611978 or

1012611979, SSN ending 1108, 4756, or 6356, a prisoner in your custody at the Rio    Arriba

County Detention Center to the United States Marshal for the District of New Mexico, or her

representative.

        The United States Marshals Service is commanded to produce PHILLP CHACON for

prosecution before the Honorable United States Magistrate Judge Laura Fashing, by

videoconference, on August 7,2020 at 9:30 am.

        PHILLP CHACON will remain in the custody of the United States Marshal or her

authorized representative until the federal prosecution is complete, unless otherwise ordered.
             Case 1:20-cr-01532-MV Document 6 Filed 08/05/20 Page 2 of 2




         WITNESS the Honorable Laura Fashing, United States Magistrate Judge of the United

States   District Court for the District of New Mexico, at Albuquerque, New Mexico, this   5b
day of August,2020.




                                                                       Clerk of Court


      Fashing
 nited States Magistrate Judge
